Case 1:24-cv-03880-LDH-LKE Document 8-7 Filed 06/19/24 Page 1 of 2 PageID #: 274




           EXHIBIT # 6
  Case 1:24-cv-03880-LDH-LKE Document 8-7 Filed 06/19/24 Page 2 of 2 PageID #: 275


  From: efile@nycourts.gov
Subject: NYSCEF Alert: Kings - Torts - Other - 509535/2024 (TYLER LILLY, v. UNITED PARCELS SERVICE, INC.)
   Date: June 10, 2024 at 8:08 AM
     To: tblackburn@tablackburnlaw.com




                                   Kings County Supreme Court
                                   Change to NYSCEF Record
                                   06/10/2024 08:07 AM


       Case modified by Craig Schatzman
       This case was modified on 06/10/2024 08:07 AM. The Short Caption was changed to "TYLER LILLY, v.
       UNITED PARCELS SERVICE, INC.".



       Clerk's Comment: correct short caption


       Case Information
       Index #: 509535/2024
       Caption: TYLER LILLY, v. UNITED PARCELS SERVICE, INC.
       Assigned Case Judge: No Judge Assigned


       E-mail Notifications Sent
       Name                                                 Email Address
       TYRONE BLACKBURN                                     tblackburn@tablackburnlaw.com


       NOTICE: This e-mail is intended only for the named recipient and for the purposes of the New York State Courts E-Filing System.
       If you are neither the intended recipient nor a person designated to receive messages on behalf of the intended recipient, notify
       the sender immediately.

       If you are unsure of the contents or origin of this email, it is advised to NOT click on any links provided. Instead, log
       into your NYSCEF account to access the documents referred to in this email. Thank you.
